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EXHIBIT 2
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(
FIVE-DAY NOTICE TO PERFORM LEASE CONDITION OR QUIT
; (NRS 40,2516)

To, JONN OOGRE & ALBERTA DOGBE FROM: THE LAKES AT LEMMON VALLEY

Tenant(s) Name(s} Vv Landlord's Name ~—
22H SKYVISTA PARKIVAY, 3N14 2711 SKY VISTA PARKWAY
Address Address
RENOLNV X9506 _ st RENO, NF 89506 __ =
City, State, Zip Code :, City, State, Zip Code SSS
252-375-412 . - 175-737-456)
Telephone Number Telephone Number
DOGBEMAMILY@GMAIL.COM MANA GER@THELAKESRENO.COM
Email Address — Email Address eS

Date of Service: 07/05/2023

PLEASE TAKE NOTICE that you have neglected or failed to perform a condition or covenant of your lease or rental
agreement as follows (describe in detail lease violation(s) alleged, with citation to each applicable page and paragraph of lease):
On Saturday, July 1, 2023, the tenants named in this notice reserved the Cluhhouse Juice Bar to hold a family event

on the owner's property. Lack of sufficient management and crowd control with tenants and their vuestand Failure to
—keep guests contained inside the reserved s ; i : Following the

; 5
event closure, staff way confronted and assaulted verhally hy Alherta DOGBE and a guest of the tenants’ party. Section |

of the Conduct Clause to the tenant Policy Agreement was violated,

PXheck if attaching continuation sheet

You oust either vacate the Prenses OF Correet the violations described above no later than five (3) judicial divs! following the
Date of Service of this notice. If you do not comply with this notice, your Possession of the premises will be unlawful (culled
“unhowful detainer") aie your landlord May intidte an eviction against you by either serving you with atl) Five: Day Nonee te
Quit for Untawtul Detainer or (2) a Summons and Complaint for Unlawful Detainer. If the court determines that you are guilty of
an unlawful detainer, the court may issue a summary order for your removal or an order providing for your nonadmittance, directing the
sheriff ta remove you not earlier than twenty-four (24) hours but not later than thirty-six (36) bours after posting the order,

If you fail to vacate the premises by 07/17/2023 or fail to cure all the above-listed violations by_N/A ;
you will be guilty of an unlawful detainer (unlawful possession), and I may start an eviction proceeding against you.
Alternatively, you are not given this right to cure because the violations are not curable. Explain why violations are

to which Alberta Dogbe verbally assaulted (he company Leasing Agent, The statement indicates that aggressive and
vulgar language was directed to the Leasing Agent, words such as “'bitch” and "cunt", The allegations go on to state

that Mrs. Dogbe was trying to get in the Leasing Agent's space, to the point that the tenant's guests had to physically restrain

FS apart. NRS ITKA390, you may suck relief if a tandia rd unlawfully removes you from the premises or excludes
you by blocking or utfeinpling to block your entry upon the premises or willfully interrupts or causes or permits the
interruption of an essential service required by the rental apreeiment! or chapler ITBA af the Nevada Revised Stittutes.

' Judicial days do not include the date of service, weekends, or certain legal holidays.
RIC 9/21: 2020

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FIVE-DA Y NOTICE TO PERFORM LEASE CONDITION OR QUIT (NRS 40.2516)
(page 2 —John and Alberta Dogbe) ~ (continued)

Tenant and guest arguments were raised after Management insisted that John Dogbe shut down the event.
The arguments raised revolved around the tenant and their guests’ asserting rights to access that were never
implied or grantec. Section 20 of the Tenant Lease — Amenities reads as follows, Washing Machines or
other equipment, ‘f any, are furnished by Lessor for the convenience of the Lessee(s) and are not to be
construed in any manner as a part of the rental paid by the Lessee(s). The swimming pool(s), recreational
and any other serv ce facilities, if any, on the premises are for the use of the Lessee(s) only, at the discretion
of Lessor. Nothing herein contained shall be construed to require Lessor, during the term of this Agreement,
to keep said swimming pool and/or other facilities in a condition for use by Lessee(s), and the time and
manner of use or the closing, temporarily or permanently, of said poo! and/or facilities shall be at the sole
discretion of Lessor and in accordance with the rules and regulations issued by Lessor. Any breach of said
rules and regulations shall constitute a breach hereof, Management asserts that the tenants and their guests
were in violation of Section 20 of the tenant lease agreement. Because you pay your rent does not constitute
a right to access the Amenities on this private property. Said access is discretionary and privileged.

Management declares that the tenant, specifically Mrs. Alberta Dogbe, is in violation of Section | of the
Policy Agreement — Conduct clause - which states that All activities and conduct of Lessee(s), their family,
children and guests in and around the premises and common areas must be reasonable and not interfere
with the peace, camfort, and quiet enjoyment of other residents and management personnel. Failure to
contain guests inside the reserved Juce Bar and Mrs. Dogbe’s verbal attack on staff was a clear violation of
the Conduct Clausz to the Tenant Lease Agreement.

Furthermore, 13(c> - Default of Lessee(s): Said condition exists If Lessee(s), their guest(s), or other person
or persons violates any fire, safety, or criminal laws. From 1:30 PM — 3:00 the tenant was approached,
asked, and then admonished for failure to control his crowd; failure to keep his guests contained within the
reserved space, namely the Juice Bar, and to not allow his guests access to the patio area so that we remain
in compliance with the applicable Fire, Safety, and Occupancy codes for the area. Both the Assistant
Manager and Leasing Agent had talks with John Dogbe. However, the tenants’ guests would not cooperate
with the tenant. Sa.d guests continued (o congregate outside in the Clubhouse lobby, downstairs halls, and
pool patio areas; resulting in the event being shut down due to tenant failure to implement appropriate
crowd control measures. Tenant Failure to provide the appropriate crowd control measures constituted a
violation of the fire and safety rules in place.

Finally, Section 10 of the tenant lease - Non-Liability — reads as follows: The Lessor is not liable to any
Lessee(s), guest, o- other person or persons for injury, damage, or loss to person or property caused by
criminal conduct of other persons, including theft, burglary, assault, vandalism, or any other crime.
Management received multiple verbal complaints from the tenant and their guest. The complaints allege
that Management failed to communicate “properly” to the tenant(s) while communicating the violations
being committed by the tenant and their guests during the event in the Juice Bar on 7/01/2023. The tenants’
acts of crying foul for being admonished for verbally confronting and assaulting staff, requiring restraint
by family and friends, and failing to comply with the rules, policies, and procedures governing private
property go beyond unacceptable behavior on the part of the tenant(s) and their guest. Management will
not allow the insensitivity of any tenant towards Management policy to trump our sensitivity to the safety,
security and well-being of staff. Management must enforce the rules fairly and without prejudice and
without fear of tenant retaliation, violence, or threat.

Management will not allow any tenants and their guests to exert acts of intimidation and cause hostility in
the workplace. For these reasons outlined herein, the Developer has instructed Management to notify the
tenant of their Notiee to Vacate by or before 07/17/2023.

